                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,

                             Plaintiffs,

                             v.                    No. 1:19-cv-00272-LCB-LPA

 DALE FOLWELL, et al.,

                             Defendants.



     PLAINTIFFS’ SUPPLEMENTAL BRIEF IN RESPONSE TO COURT ORDER
     (Dkt. 269), IN SUPPORT OF THEIR MOTION FOR SUMMARY JUDGMENT
      (Dkt. 178), AND IN OPPOSITION TO NCSHP’S MOTION FOR SUMMARY
                              JUDGMENT (Dkt. 136)

        The Court has requested additional briefing on Plaintiffs’ claim under Section 1557

of the Affordable Care Act (“ACA”), namely, whether the term “health program or

activity” encompasses health insurance and health plans, in light of recent rulemaking

undertaken by the U.S. Department of Health and Human Services (“HHS”). The answer

is unequivocally: YES.

                                       ARGUMENT

I.      The ACA’s Text Is Unambiguous on this Question.

        Regardless of the various iterations of the federal regulations, under the plain

language of Section 1557 and the ACA as a whole, the term “health program or activity”

encompasses health insurance and health plans. See Dkt. 188 at 17-20; see also C.P. by &

through Pritchard v. Blue Cross Blue Shield of Illinois, 536 F.Supp.3d 791, 796 (W.D.

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Wash. 2021) (“A claim of discrimination in violation of Section 1557 does not depend on

an HHS rule.”); see also T.S. v. Heart of CarDon, LLC, 43 F.4th 737, 743 (7th Cir. 2022)

(“[I]t is unnecessary to determine which HHS rules are entitled to deference since we need

not rely on them … Agency interpretation of a statute becomes relevant only where a court

cannot discern clear meaning from the statute itself; that is not the case here.”).

       Here, Congress explicitly included health insurers that receive federal financial

assistance within the purview of Section 1557:

       [A]n individual shall not … be excluded from participation in, be denied the
       benefits of, or be subjected to discrimination under, any health program or
       activity, any part of which is receiving Federal financial assistance,
       including credits, subsidies, or contracts of insurance.

42 U.S.C. §18116(a) (emphasis added). This language was an intentional expansion over

earlier anti-discrimination law that exempted “contracts of insurance.” See 45 C.F.R.

§84.3(h) (Rehabilitation Act regulation expressly excluded insurers from its reach).

Congress’s expansion of anti-discrimination law to health insurers that receive federal

financial assistance was express and deliberate. See SAS Inst., Inc. v. Iancu, 138 S.Ct.

1348, 1355 (2018). After all, health coverage is what enables most Americans to access

health care. It defies logic to argue that health insurance might not be a health program

or activity. “It is unclear to whom this clause would apply if not health insurance issuers.”

Fain v. Crouch, 545 F.Supp.3d 338, 342 (S.D.W. Va. 2021).

       In addition, this Court should not review the meaning of “health program or

activity” in isolation; it should seek to ascertain the statutory term’s meaning from its

context. See King v. Burwell, 576 U.S. 473, 486 (2015); see also Sierra Club v. United


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States Army Corps of Engineers, 909 F.3d 635, 645 (4th Cir. 2018) (“When considering

the plain meaning of the statutory language, we also must consider the context in which

the statutory words are used because we read statutes as a whole.” (cleaned up)); Fain, 545

F.Supp.3d at 342 (“Although ‘health program or activity’ is not defined by the ACA, its

meaning becomes evident as the Court widens its analytical lens beyond the phrase itself.”).

The Court therefore “must … interpret the statute as a symmetrical and coherent regulatory

scheme, and fit, if possible, all parts into a harmonious whole.” Food and Drug Admin. v.

Brown & Williamson Tobacco Corp., 529 U.S. 120, 133 (2000) (cleaned up).

       That “health program or activity” includes health insurance and health plans is

evident from definitions of “health program” and “health care” contained within the ACA,

which repeatedly refers to “health programs” and “health care entities” as including

insurers and health plans in other provisions. See Fain, 545 F.Supp.3d at 342 (noting

“[o]ther sections of the ACA provide further support”). For example, Section 1331 of the

ACA permits states flexibility to provide a “basic health program” by offering “1 or more

standard health plans providing at least the essential health benefits described in section

18022(b) of this title to eligible individuals.” 42 U.S.C. §18051(a)(1) (emphasis added).

Similarly, Section 1553 defines “health care entity” to include “a health maintenance

organization, a health insurance plan, or any other kind of health care facility,

organization, or plan.” 42 U.S.C. §18113(b) (emphasis added).

       Furthermore, “[i]n interpreting a statute, the cardinal rule is that the intent of

Congress is to be given effect.” Sierra Club, 909 F.3d at 645 (cleaned up) (quoting



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N.L.R.B. v. Wheeling Elec. Co., 444 F.2d 783, 787 (4th Cir. 1971)). Accordingly, courts

“must reject administrative constructions which are contrary to clear congressional intent.”

Chevron, U.S.A, Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 843 n.9 (1984). Here,

the inclusion of health insurance and health plans within “health program or activity” is

apparent not just from the statutory text but also from statements of Congressional intent.

See Dkt. 188 at 19. Indeed, the ACA is laser-focused on ending discrimination by health

insurance companies. See Valerie K. Blake, An Opening for Civil Rights in Health

Insurance After the Affordable Care Act, 36 B.C. J.L. & Soc. Just. 235, 237 (June 2016).

HHS agrees. See Nondiscrimination in Health Programs and Activities, 87 Fed. Reg.

47,824, 47,825 (proposed Aug. 4, 2022) (“[I]n enacting the ACA, Congress demonstrated

a clear intent to protect individuals from discrimination in health insurance and other

health-related coverage. As a general matter, the fact that Section 1557 is contained within

the ACA—a law that predominantly regulates health insurance—indicates that Congress

intended Section 1557 to apply to health insurance.”).

       In addition to Section 1557, the ACA prohibits health insurers from discrimination

based upon health conditions in enrollment and re-enrollment. See 42 U.S.C. §§300gg-1;

300gg-2; 300gg-4. It ends the use of discriminatory pre-existing condition limitations in

ACA-regulated health insurance. 42 U.S.C. §300gg-3. It prohibits insurers from using

disability, health status and medical conditions as a basis of denying eligibility for

coverage. 42 U.S.C. §300gg-4(a).




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       “Given this context, … ‘health program or activity’ under Section 1557 necessarily

includes health insurance issuers.” Fain, 545 F.Supp.3d at 342. Such has been the case

since 2010 when the ACA was enacted. Accordingly, the Court should hold that NCSHP

is covered by Section 1557 and reject NCHSP’s invitation to narrow the definition of

“health program or activity” to exclude health insurance.

II.    No Deference Is Owed to the 2020 Rule.

       NCSHP argues that the 2020 Rule, which (inappropriately) excluded health

insurance from the regulatory definition of “health program or activity,” is entitled to

deference under Chevron. Dkt. 137 at 29-30. Not so. As articulated above, there is no

ambiguity as to whether “health program or activity” includes health insurance and health

plans any part of which receive federal financial assistance. And, even if there were some

ambiguity (there is none), the 2020 Rule’s exclusion of health insurance is not entitled to

deference under Chevron step two.

       “At Chevron’s first step, a court looks to the ‘plain meaning’ of the statute to

determine if the regulation responds to it.” King v. Burwell, 759 F.3d 358, 367 (4th Cir.

2014) (quoting Chevron, 467 U.S. at 842–43), aff’d, 576 U.S. 473. At this step, courts look

to “the plain language and context of the most relevant statutory sections, the context and

structure of related provisions, and the legislative history of the Act.” Id. at 372. Because

here each of these three factors points to the inescapable conclusion that the term “health

program or activity” encompasses health insurance, there is no ambiguity to resolve, and

the inquiry ends.



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       To be clear, the inquiry at Chevron step one is issue specific. This Court need only

proceed to the second step of the Chevron inquiry—whether the agency’s interpretation is

“based on a permissible construction of the statute”—if it finds that the statute is “silent or

ambiguous with respect to the specific issue.” Chevron, 467 U.S. at 843; see also Robinson

v. Shell Oil Co., 519 U.S. 337, 340 (1997) (“Our first step in interpreting a statute is to

determine whether the language at issue has a plain and unambiguous meaning with regard

to the particular dispute in the case.” (emphasis added)); Lawrence + Mem’l Hosp. v.

Burwell, 812 F.3d 257, 267-68 (2d Cir. 2016). Therefore, NCSHP’s argument that

regulation pertaining to other aspects of “health program or activity” would be precluded

if the Court found the term to unambiguously encompass health insurance (Dkt. 137 at 31

n.6) falls flat. It would simply preclude the adoption of rules stating to the contrary.

       Notwithstanding the above, even if the Court were to credit that there is some

ambiguity in this regard (and there is not), the 2020 Rule is not entitled to deference under

Chevron step two. At Chevron step two, the court asks whether the agency’s interpretation

“is based on a permissible construction of the statute.” Chevron, 476 U.S. at 843. “An

interpretation is unreasonable under Chevron deference if it is ‘arbitrary, capricious, or

manifestly contrary to the statute.’” Amaya v. Rosen, 986 F.3d 424, 432 (4th Cir. 2021)

(quoting Chevron, 467 U.S. at 844). As evidenced by the word “or,” this standard requires

courts to evaluate the reasonableness of an agency’s decision in distinct ways. Id.

       For one, the 2020 Rule’s extrication of health insurance from the definition of

“health program or activity” is manifestly contrary to the statute. See Section I, supra. For



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another, the 2022 Proposed Rule makes clear the agency’s view that the 2020 Rule was

wrong in adopting such a narrow scope. See Section III, infra.

       For another, the 2020 Rule is arbitrary and capricious. See Judulang v. Holder, 565

U.S. 42, 52 n.7 (2011) (“[U]nder Chevron step two, we ask whether an agency

interpretation is ‘arbitrary and capricious in substance.’” (citation omitted)). There are

multiple reasons for this.

       First, one of the primary purposes of enacting the ACA was ending discrimination

in health insurance. It therefore defies logic that health insurance is outside the scope of

the health anti-discrimination law enacted as part of the ACA.

       Second, the 2020 Rule’s interpretation also would lead to arbitrary and absurd

results. Based on its argument for deference, NCSHP was liable for its sex discrimination

under Section 1557 between 2016 and 2020 (when this case was filed and the 2016 Rule

was in effect), was not liable under Section 1557 between 2020 and now (during some of

the pendency of this case) and will be liable once again when the 2022 Proposed Rule is

finalized. Of course, that is not and cannot be the case. The truth is health insurance is

without a doubt a “health program or activity” and NCSHP’s liability comes from the

statute, not any regulation. That is why courts applied Section 1557 to health insurance

even prior to any rulemaking. See, e.g., East v. Blue Cross & Blue Shield of La., No. 3:14-

CV-00115-BAJ, 2014 WL 8332136, at *2 (M.D. La. Feb. 24, 2014). And why courts,

including appellate courts, have applied Section 1557 to health insurance even during the

existence of the 2020 Rule. See, e.g., T.S., 43 F.4th at 743-44 (applying Section 1557 to



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health plan); Doe v. CVS Pharmacy, Inc., 982 F.3d 1204, 1212 (9th Cir. 2020) (applying

Section 1557 to employer-sponsored health plan), cert. granted in part, 141 S.Ct. 2882

(2021), and cert. dismissed, 142 S.Ct. 480 (2021); Fain v. Crouch, CV No. 3:20-CV-0740,

2022 WL 3051015, at *11-12 (S.D.W. Va. Aug. 2, 2022) (applying Section 1557 to state

health plan); E.S. v. Regence BlueShield, No. 2:17-CV-01609-RAJ, 2022 WL 279028, at

*2 (W.D. Wash. Jan. 31, 2022) (“Section 1557 of the ACA prohibits certain types

of discrimination in health care … It does so by incorporating other nondiscrimination

statutes and prohibiting discrimination on those grounds in the health care system, and

specifically in health insurance contracts.”); C.P., 536 F.Supp.3d at 796-97 (applying

Section 1557 to employer-provided health plan).

       Third, the 2020 Rule’s declaration that health insurers are not a “program or

activity” under Section 1557 and not subject to Section 1557 because they are not

“principally engaged in the business of providing healthcare,” 85 Fed. Reg. 37,160, 37,244-

45 (June 19, 2020), defies reason. To support its interpretation, the 2020 Rule contends

that providing “health insurance” is different than providing “healthcare” and points to the

definitions of “healthcare” and “health insurance” in unrelated statutes to support the

distinction. See id. at 37,172-73. But, as articulated herein, Section 1557 plainly covers

“health programs and activities,” not just direct health care. And health insurance clearly

is a health-related program or activity. It is what enables the majority of Americans to

access health care.




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       What is more, the 2020 Rule’s reliance on unrelated statutes for its interpretation is

unavailing. For example, HHS points in the Rule to 42 U.S.C. § 300gg-91. See id. at

37,172. But 42 U.S.C. § 300gg-91, which defines terms for federal laws regulating health

insurance, defines “health insurance coverage” to specifically include benefits consisting

of medical care and acknowledges health insurance is one way of providing health care.

Forced to acknowledge that “42 U.S.C. 300gg–91 explicitly encompasses payment, ‘group

health plans,’ and ‘definitions relating to health insurance,’” 85 Fed. Reg. at 37,172, the

only response in the 2020 Rule was “that a health insurer is principally engaged in the

business of providing coverage for benefits consisting in healthcare, which is not the same

as the business of providing healthcare.” Id. at 37,173. But this is a circular and irrational

argument. Even assuming there is a distinction between a “healthcare” program and

“health” program, Section 1557 prohibits discrimination by a “health program or activity,”

not a “healthcare program or activity.” There is no rational explanation for 2020 Rule’s

position that health insurance is not a “health program or activity.”

       Fourth, NCSHP can point to no case holding that health insurance is not

encompassed by the term “heath program or activity.” The reason is simple. By adopting

the broad term “health,” Congress intended for Section 1557 to apply broadly, including

health insurance. Such expansive language was necessary to effectuate the ACA’s central

statutory objective of expanding access to health care by eliminating various barriers to

health coverage—including discriminatory policies and practices of health insurers. See




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King, 576 U.S. at 478; Schmitt v. Kaiser Found. Health Plan of Wash., 965 F.3d 945, 949,

955 (9th Cir. 2020).

        In sum, the 2020 Rule is not entitled to any deference in this regard. The statutory

text is unambiguous on this issue and even if it were (it is not), the 2020 Rule’s definition

of “health program or activity” to exclude health insurance is unreasonable.

III.    The 2022 Proposed Rule Lends Strong Support to Plaintiffs’ Arguments.

        HHS’s proposed regulations published on August 4, 2022 further support Plaintiffs’

arguments. See 87 Fed. Reg. at 47,829. The 2022 Proposed Rule defines “health program

or activity,” in relevant part, as follows:

        1) Any project, enterprise, venture, or undertaking to

           (i) Provide or administer health-related services, health insurance
           coverage, or other health-related coverage;

           (ii) Provide assistance to persons in obtaining health-related services,
           health insurance coverage, or other health-related coverage;

           …

Id. at 47,912 (to be codified at 45 C.F.R. §92.4) (emphasis added). This is consistent with

the 2016 Rule. See 81 Fed. Reg. 31,375, 31,468 (May 18, 2016) (defining “health program

or activity” as “the provision or administration of … health-related insurance coverage, or

other health-related coverage, and the provision of assistance to individuals in obtaining

… health-related insurance coverage”). HHS therefore has rejected and repudiated the

2020 Rule’s definition of “health program or activity,” challenges to which are pending in




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three federal courts.1 In doing so, HHS has communicated “the Department’s view” that

“the scope of application in the 2020 Rule is not the best reading of the statutory text of

Section 1557” because “[t]he statutory text of Section 1557 demonstrates Congress’ intent

to apply Section 1557 to health insurance.” 87 Fed. Reg. at 47,829.

       Like Plaintiffs, HHS “believe[s] that the most natural reading of the language

‘health program or activity’ in the statute encompasses health insurance programs or

activities.” Id. at 47,844.

       HHS explicitly rejects the 2020 Rule’s legally challenged narrowing of the scope of

Section 1557 as follows:

       In the preamble to the 2020 Rule, the Department emphasized that the
       provision of health-care insurance is not necessarily a form of healthcare.
       Whether or not that is true in any practical sense for purposes that bear on
       the application of nondiscrimination protections, the applicability of Section
       1557 does not turn on whether a program or activity involves health care as
       such—it depends instead on whether the operations in question are a ‘‘health
       program or activity’’—something that unequivocally describes the
       operations of health insurance issuers.

Id. at 47,844 (emphasis in original).

       Aside from the above commonsense proposition, which shows why the 2020 Rule

is entitled to no deference, HHS points to Section 1557’s text as well as the whole statutory

context of the ACA. Id. at 47,844–45. For example, HHS notes that “[i]n the description



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  Whitman-Walker Clinic v. U.S. Dep’t of Health & Hum. Servs., No.20-11297-PBS
(D.D.C.) (stayed, motion to dismiss pending); New York v. U.S. Dep’t of Health & Hum.
Servs., No. 1:20-cv-5583-AKH (S.D.N.Y.) (stayed, motion for summary judgment
pending); Boston All. of Gay, Lesbian, Bisexual & Transgender Youth v. U.S. Dep’t of
Health & Hum. Servs., No. 20-11297-PBS (D. Mass.) (stayed).

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of Federal financial assistance subject to Section 1557, the statute identifies three examples

of Federal financial assistance, all of which pertain to health insurance: ‘credits, subsidies,

or contracts of insurance.’” Id. at 47,829. Thus, HHS concluded that it is only “logical to

conclude that the inclusion of credits and subsidies in Section 1557’s statutory language

refers to the tax credits and cost-sharing subsidies provided for under the same title of the

ACA (Title I) to assist people in purchasing health insurance coverage.” Id.

       “Given the ACA’s focus on health insurance and other health-related coverage, if

Congress intended to exclude health insurance from Section 1557’s reach, it is logical to

assume that it would have done so expressly.” Id. at 47,844–45. As such, “the Department

… believes the 2020 Rule limits application to health insurance and other health-related

coverage in a manner inconsistent with the statute and Congressional intent.” Id.

       Simply put, the 2022 Proposed Rule provides strong support for Plaintiffs’

arguments as to why health insurance and plans are within the scope of “health program or

activity” under Section 1557. There is no ambiguity that “health program or activity”

“unequivocally describes the operations of health insurance issuers.” 87 Fed. Reg. 47,844

(emphasis added). And, even if the Court were to accept NCSHP’s contention that there

is ambiguity (it should not), the 2020 Rule is entitled to no deference.

                                      CONCLUSION

       For the reasons stated herein and Plaintiffs’ other briefs, the Court should grant

Plaintiffs’ motion for summary judgment on their Section 1557 claim.




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                        CERTIFICATE OF COMPLIANCE
      I hereby certify that the foregoing brief is in compliance with Local Rule 7.3 and

the Court’s October 24, 2022 Order (Dkt. 269) because the body of this brief, including

headings and footnotes, does not exceed 3,125 words as indicated by Microsoft Word, the

program used to prepare this document.

Dated: November 7, 2022


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